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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff-Respondent,                          Criminal Case No. 09-20221-09
 v.                                                    Civil Case No. 12-10989
                                                       HONORABLE DENISE PAGE HOOD
 ROSA GENAO (D-9),

       Defendant-Petitioner.
 ________________________________/

                  ORDER FOR ADDITIONAL BRIEFING OR AFFIDAVIT

        This matter is before the Court on the Government’s request for additional briefing on two

 factual issues as to Defendant Rosa Genao’s ineffective assistance of counsel claim: 1) whether the

 government’s plea offer was conveyed to Genao by her trial counsel; and, 2) whether prior to

 sentencing Genao was allowed by her trial counsel to review or dispute her Presentence Report. In

 light of the recent Supreme Court cases, Missouri v. Frye, 132 S.Ct. 1399 (2012) and Lafler v.

 Cooper, 132 S.Ct. 1376 (2012), the Court agrees that further facts be submitted by Genao, if she so

 chooses, for the Court’s consideration. The Court notes that a petitioner bears the burden of

 showing that her trial counsel’s performance was deficient and that the deficient performance

 prejudiced petitioner. McPhearson v. U.S., 675 F.3d 553, 559 (6th Cir. 2012). Accordingly,

          IT IS ORDERED that Genao submit further facts and/or an affidavit by July 27, 2012,
 indicating whether her trial counsel conveyed the government’s plea offer to Genao and whether her
 trial counsel allowed Genao to review or dispute her Presentence Report prior to the sentencing date.


                                S/Denise Page Hood
                                Denise Page Hood
                                United States District Judge

 Dated: July 5, 2012
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 I hereby certify that a copy of the foregoing document was served upon Rosa Genao #82716004,
 P.O. Box 1032, Coleman, FL 33521 and counsel of record on July 5, 2012, by electronic and/or
 ordinary mail.

                             S/LaShawn R. Saulsberry
                             Case Manager




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